Case 6:11-cr-00078-JCB-KNM           Document 349       Filed 02/15/17     Page 1 of 1 PageID #:
                                            1145



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA,                        §
                                                  §
                                                  § CASE NUMBER 6:11-CR-00078-RC
 v.                                               §
                                                  §
                                                  §
 TREVORRIS WOODARD                                §
                                                  §




               ORDER ADOPTING REPORT AND RECOMMENDATION OF
                      UNITED STATES MAGISTRATE JUDGE

         The above entitled and numbered criminal action was referred to United States

 Magistrate Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report of Magistrate

 Judge John D. Love which contains his proposed findings of fact and recommendations for the

 disposition of such action has been presented for consideration. The parties have waived their

 objections to the Report and Recommendation.

         The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

 correct. Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as

 the findings and conclusions of this Court and ORDERS that Defendant Trevorris Woodard be

 committed to the custody of the Bureau of Prisons for a term of imprisonment of 10 months with

 no supervised release to follow, with the term of imprisonment to run concurrently with

 Defendant’s sentence in Case No. 6:16-cr-24(1).        The Court RECOMMENDS that drug

 treatment be provided to Defendant during the term of imprisonment and that the place of

 confinement be Seagoville or as close to Longview as possible in order to facilitate family

 visitation.
                                 So Ordered and Signed
                                 Feb 15, 2017
